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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 INTERNATIONAL ALLIANCE OF                      *
 THEATRICAL STAGE EMPLOYEES                     *
 LOCAL NO. 11,                                  *
                                                *
        Plaintiff,                              *
                                                *
                v.                              *        Civil Action No. 1:19-cv-12579-IT
                                                *
 MARTIN SPORTS & ENTERTAINMENT                  *
 LLC,                                           *
                                                *
        Defendant.                              *

                                 MEMORANDUM AND ORDER

                                         July 31, 2023
TALWANI, D.J.

       Plaintiff International Alliance of Theatrical Stage Employees, Moving Picture

Technicians, Artists and Allied Crafts, Local 11 (“Local 11”) brought claims against Defendant

Martin Sports & Entertainment, LLC (“Martin Sports”) under section 301(a) of the Labor

Management Relations Act, 29 U.S.C. § 185(a). Local 11 claims that Martin Sports breached

their collective bargaining agreement when Martin Sports failed and refused to hire employees

that could have been referred by Local 11 to perform alleged bargaining unit work for the Boston

Bruins’ Fan Fest events produced by Martin Sports on June 6 and 12, and October 12 and 14,

2019. Local 11 alleges that its members were wrongfully denied work opportunities and

associated wages and benefits.

       Martin Sports filed a Motion for Summary Judgment [Doc. No. 46] and the court granted

the motion as to Local 11’s claims related to the October 2019 events and denied the motion as

to the claims related to the June 2019 events. Memorandum and Order [Doc. No. 60].
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       The parties have now filed a Joint Stipulation [Doc. No. 69] stipulating that (1) all of the

evidence pertaining to Martin Sport’s liability to Local 11 under Labor Management Relations

Act section 301(a) is articulated in the court’s Memorandum and Order [Doc. No. 60]; and (2)

the court should determine whether Martin Sports is liable to Local 11 under section 301(a)

based on the evidence contained in that order. Joint Stipulation ¶¶ 4-5 [Doc. No. 69]. The parties

agreed that, by so stipulating, Local 11 reserves the right to timely appeal the court’s grant of

summary judgment as to the October 2019 Fan Fest events, Joint Stipulation ¶ 6 [Doc. No. 69],

and Martin Sports reserves the right to timely appeal the court’s denial of summary judgment as

to the June 2019 Fan Fest events, id. at ¶ 7. Additionally, the parties stipulated that were the

court to determine that Martin Sports is liable for breach of a collective bargaining agreement

with respect to the June 2019 events, Local 11 has incurred damages in the amount of $8,347.86.

and any judgment by the court is subject to appeal only with respect to the question of liability,

not the amount of damages.

       Consistent with its Memorandum and Order [Doc. No. 60], the court finds that the June

2019 Fan Fest events were covered by the collective bargaining agreement and the October 2019

events were not. Accordingly, the court also finds that Plaintiffs are entitled to $8,347.86.

       IT IS SO ORDERED.

       July 31, 2023                                          /s/ Indira Talwani
                                                              United States District Judge




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